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United States District Cou~iitED

EASTERN DISTRICT OF MISSOURI

SEP ~ 3 2009
UNITED STATES OF AMERICA

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CASE NUMBER: 4:O9MJ00199DDN
ARSENIO D. LEAL-RUIZ

AND
ALEXEY LOPEZ ANGEL-BELLO,

I, Kevin Koch, Special Agent, the undersigned complainant being duly sworn state the following is true and
correct to the best of my knowledge and belief,

On or about September 2, 2009, in St. Louis County, in the Eastem District of Missouri, defendant(s) did,
knowingly and with intent to defraud used, and attempted to use, one or more counterfeit access devices in violation of
Title 18, United States Code, Section(s) 1029(a)(l) and 2. l further state that l am a Special Agent and that this complaint
is based on the following facts:

On or about September 2, 2009, the loss prevention officer from the J.C. Penney Store located in South County
Mall observed ALEXEY LOPEZ ANGEL-BELLO using a counterfeit credit card ending in 9839 iii the name of.l.A. in
order to purchase a $500.00 gift card. The loss prevention officer was conducting surveillance as a description of
ANGEL-BELLO, his vehicle, and a second individual had been circulated by the Fairview Heights store due to the
individuals’ use of counterfeit credit cards to purchase merchandise in lllinois. When police officers received the
information they located and approached the identified vehicle and spoke with ARSENIO D. LEAL-RULI. In response
to the officers query as to whether he had any credit cards or identification documents on his person, LEAL-RULI
presented more than four credit cards with different variations of his name. After detaining LEAL-RULI, the officers
entered the mall and learned from witnesses that ANGEL-BELLO fled when he observed the officers approaching J.C.
Penneys. During their pursuit, other witnesses identified the flight path of ANGEL-BELhO and his discarding of credit
cards. The officers recovered two counterfeit credit cards in the name of J.A. When ANGEL-BELLO was finally
apprehended, the loss prevention officer showed the police officers a JCPenney lnvestigations Photo Alert which had a
photo matching ANGEL-BEhLO with information of his participation in the use of additional fraudulent conduct.

Continued on the attached sheet and made a part hereof. _ Yes X_ No

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Signature of Complain€nt
Swom to before me, and subscribed in my presence Kevin Koch, Specia| Agent
United States Secret Service

 

 

 

September 3, 2009 St. Louis, Missouri\
Date m%% ~\I/(.A`LJZ
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Name and Title of Judicial Officer

